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                    Exhibit 24
         to Declaration of Rachel Doughty
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                                     YUHAAVIATAM OF SAN MANUEL NATION,
  A Professional Corporation




                                12   a federally recognized Indian tribe, also federally
                                     recognized as SAN MANUEL BAND OF MISSION INDIANS
                                13

                                14

                                15                        UNITED STATES DISTRICT COURT
                                16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                17                         EASTERN DIVISION – RIVERSIDE
                                18   BLUETRITON BRANDS, INC.,                    Case No.: 2:24-cv-09720-JGB-DTB
                                19                                 Plaintiff,    NOTICE AND MOTION TO
                                                                                 INTERVENE OF YUHAAVIATAM
                                20         v.                                    OF SAN MANUEL NATION;
                                                                                 MEMORANDUM OF POINTS AND
                                21   UNITED STATES FOREST SERVICE,               AUTHORITIES; MOTION FOR
                                                                                 ORDER SHORTENING TIME FOR
                                22   RANDY MOORE, in his official                HEARING
                                     capacity as Chief of the U.S. Forest
                                23   Service,                                    EXPEDITED HEARING
                                                                                 REQUESTED
                                24   CHRISTOPHER FRENCH, in his
                                     official capacity as Deputy Chief for the   Hearing Date: February 3, 2025
                                25   National Forest System of the               Hearing Time: 9:00 AM
                                     U.S. Forest Service,                        Courtroom:      1
                                26                                               Judge: Hon. Jesus G. Bernal
                                     JENNIFER EBERLEIN, in her official
                                27   capacity as Regional Forester for the       Action Filed: August 6, 2024
                                     Pacific Southwest Region of the
                                28   U.S. Forest Service,
                                     NOTICE & MOTION TO INTERVENE OF YUHAAVIATAM OF SAN MANUEL NATION;
                                     MEMORANDUM OF P&As; MOTION FOR ORDER SHORTENING TIME FOR HEARING
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                                 1   DANELLE HARRISON, in her official
                                     capacity as Forest Supervisor of the San
                                 2   Bernardino National Forest of the
                                     U.S. Forest Service,
                                 3
                                     MICHAEL NOBLES, in his official
                                 4   capacity as Front Country District
                                     Ranger of the U.S. Forest Service,
                                 5
                                                               Defendants.
                                 6
                                     YUHAAVIATAM OF SAN MANUEL
                                 7   NATION, a federally recognized Indian
                                     tribe, also federally recognized as SAN
                                 8   MANUEL BAND OF MISSION
                                     INDIANS,
                                 9
                                           [PROPOSED] Plaintiff-Intervenor.
                                10

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                                 1              NOTICE OF MOTION AND MOTION TO INTERVENE
                                 2   TO ALL PARTIES AND THEIR ATTORNEYS:
                                 3         PLEASE TAKE NOTICE that on Monday, February 3, 2025, at 9:00 a.m., or
                                 4   as soon thereafter as the matter may be heard, in Courtroom 1, at the above-entitled
                                 5   Court, located at 3470 Twelfth Street, Riverside, California, the Yuhaaviatam of
                                 6   San Manuel Nation, a federally recognized Indian tribe, also federally recognized as
                                 7   the San Manuel Band of Mission Indians (the “Nation”), will move this Court for
                                 8   an order granting leave to intervene in this matter as a Plaintiff-Intervenor, pursuant
                                 9   to Federal Rules of Civil Procedure (FRCP), Rule 24(a)(2) or, alternatively,
                                10   Rule 24(b) on the following grounds:
                                11         1.     The Nation is entitled to intervene as a matter of right pursuant to
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                                12   FRCP 24(a)(2) because this motion is timely; the Nation has significant protectable
                                13   interests relating to the properties and/or transactions which are the subject of this
                                14   action; the Nation is so situated that the disposition of this action may, as a practical
                                15   matter, impair or impede its ability to protect those interests; and the Nation’s
                                16   interests are not adequately represented by the existing parties.
                                17         2.     Alternatively, the Nation should be permitted to intervene pursuant to
                                18   FRCP 24(b)(1)(B) because this motion is timely; the Nation’s proposed Complaint
                                19   raises questions of law and fact which are common with those in the main action;
                                20   and the Nation’s intervention will not unduly delay or prejudice the rights of the
                                21   original parties.
                                22         This motion is based upon this Notice of Motion; the Memorandum of Points
                                23   and Authorities in Support of Motion to Intervene; the Declarations of Rodney
                                24   Garton, Paul Hamai, Daniel Little, and Alexandra McCleary filed in support of this
                                25   Motion to Intervene and/or the corresponding Motion for Preliminary Injunction;
                                26   the proposed Complaint-in-Intervention and Motion for Preliminary Injunction
                                27   attached hereto as Attachments 1 and 2; all the pleadings and records on file herein;
                                28
                                     NOTICE & MOTION TO INTERVENE OF YUHAAVIATAM OF SAN MANUEL NATION;
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                                 1   and on such other and further documentary or oral evidence as may be presented at
                                 2   the hearing of this motion.
                                 3         Pursuant to L.R. 7-3, the Nation’s counsel has conferred with counsel for
                                 4   Plaintiff and Defendants. Plaintiff does not oppose the motion and Defendants
                                 5   reserve taking a position on the motion pending review of the papers.
                                 6          MOTION FOR ORDER SHORTENING TIME FOR HEARING
                                 7         While a hearing on this motion has been noticed for February 3, 2025, due to
                                 8   the exigent circumstances described herein, the Nation requests that the Court enter
                                 9   an order, pursuant to L.R. 6-1, shortening time such that a hearing on this motion
                                10   will be held on January 13, 2025, at 9:00 a.m., on the same date a hearing on
                                11   Plaintiff BlueTriton Brands, Inc.’s (“Plaintiff” or “BlueTriton”) Motion for
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                                12   Preliminary Injunction will be held. See ECF No. 60. The Nation proposes setting
                                13   an expedited briefing schedule such that the deadline to file response briefs is
                                14   January 8, 2025, and the deadline to file reply briefs is January 10, 2025. Plaintiff
                                15   consents to this expedited briefing and hearing schedule; Defendants oppose it.
                                16                  PLEADINGS ACCOMPANYING THIS MOTION
                                17         FRCP 24(c) requires that a motion to intervene must “be accompanied by a
                                18   pleading that sets out the claim or defense for which intervention is sought.” The
                                19   Nation seeks to intervene and bring claims against Defendants for violations of
                                20   federal law associated with the same agency action that Plaintiff alleges is unlawful,
                                21   and to obtain injunctive and declaratory relief against Defendants. Attachments 1
                                22   and 2 to this memorandum are the proposed Complaint-in-Intervention and Motion
                                23   for Preliminary Injunction.
                                24                MEMORANDUM OF POINTS AND AUTHORITIES
                                                    IN SUPPORT OF MOTION TO INTERVENE
                                25

                                26                                  I.   INTRODUCTION
                                27         The Nation seeks to intervene in this action to protect its water supply and
                                28   property interests at Arrowhead Springs.
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                                  1         Since time immemorial, the Serrano people have occupied and stewarded the
                                  2   land encompassed by the San Bernardino National Forest (SBNF). Once the
                                  3   United States acquired such lands, the Nation was relegated to and granted a
                                  4   655-acre parcel of land for its Reservation in 1891, just above the City of Highland.
                                  5   Declaration of Alexandra McCleary in Support of Yuhaaviatam of San Manuel
                                  6   Nation’s Motion to Intervene (McCleary Decl.) at ¶ 6. As part of a coordinated
                                  7   effort to reacquire certain portions of its ancestral land, the Nation acquired title to
                                  8   the approximately 2,000-acre Arrowhead Springs property (Arrowhead Springs) in
                                  9   2016 (id. at ¶ 7) and is now in the process of completing an Ancestral Land
                                 10   Exchange with the United States Forest Service (USFS) to reestablish continuity
                                 11   between the Nation’s Reservation and Arrowhead Springs.1 Arrowhead Springs
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                                 12   requires water for a variety of year-round uses, including for domestic, irrigation,
                                 13   and fire protection purposes. Arrowhead Springs contains wildfire protection
                                 14   facilities available to the Nation and surrounding local governments, cultural sites,
                                 15   recreational facilities, a historic hotel, and associated improvements. Accordingly,
                                 16   a safe and reliable water supply is crucial to meet these demands, which benefit not
                                 17   only the Nation but also numerous other fire-fighting agencies2 and the community
                                 18   at large. This water is currently supplied by Plaintiff. However, the USFS, through
                                 19   its officials named as Defendants in this proceeding (collectively with the USFS,
                                 20   the “Defendants”), has taken actions to terminate this water supply without notice
                                 21
                                      1
                                       For more information on the San Manuel Ancestral Land Exchange, see USDA
                                 22   Forest Service San Manuel Ancestral Land Exchange, https://www.fs.usda.gov/
                                 23   project/? project=63386&exp=overview (last visited Jan. 2, 2025).
                                      2
                                 24     Local elected officials have expressed grave concern over Arrowhead Springs no
                                      longer having access to water sourced from Strawberry Canyon, as those supplies
                                 25   are vital to fire-fighting efforts in the region. See Ex. 11 (Ex. 1 to Motion to PI,
                                 26   8/1/24 Letter); Joe Nelson, Potential water restrictions at Arrowhead Springs Hotel
                                      raise concerns over wildfire danger, The Sun, https://www.sbsun.com/2024/08/23/
                                 27   potential-water-restrictions-at-arrowhead-springs-hotel-raise-concerns-over-
                                 28   wildfire-danger/ (last visited Jan. 2, 2025).
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                                  1   to or consultation with the Nation. Defendants’ actions will significantly impact
                                  2   the Nation, even if Defendants’ actions are primarily intended to target
                                  3   BlueTriton’s special use authorization.
                                  4         Since 1930, BlueTriton and its predecessors in interest have accessed and
                                  5   operated its water diversion and conveyance structures (collectively, “facilities”) on
                                  6   SBNF lands through a series of special use permits (SUP) issued by the USFS. A
                                  7   portion of such water was provided to the Nation for use at Arrowhead Springs and
                                  8   a portion was used by BlueTriton for commercial bottling purposes. BlueTriton is
                                  9   currently challenging an action of Defendants—the issuance of a “Notice of Denial
                                 10   of Application for Use and Occupancy of National Forest Lands; Termination of
                                 11   Special Use Permit FCD728503” (Notice of Denial) on July 26, 2024. The Notice
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                                 12   of Denial rejects BlueTriton’s request for a renewal of SUP No. FCD728503 and
                                 13   terminates the SUP, immediately prohibiting Plaintiff from accessing and operating
                                 14   its facilities on SBNF lands. Defendants’ Notice of Denial also requires BlueTriton
                                 15   to remove the facilities in short order. Plaintiff’s Complaint for Declaratory and
                                 16   Injunctive Relief (Plaintiff’s Complaint) alleges that Defendants’ issuance of the
                                 17   Notice of Denial violated the Administrative Procedure Act (APA), 5 U.S.C. § 706,
                                 18   by exceeding their statutory authority and acting arbitrarily and capriciously. See
                                 19   ECF No. 1 at 8-10. Plaintiff’s Complaint, in conjunction with its Motion for
                                 20   Preliminary Injunction (Plaintiff’s Motion), asks the Court, inter alia, to: declare
                                 21   that Defendants violated the APA; vacate and set aside the Notice of Denial; and
                                 22   enjoin Defendants, preliminarily and permanently, from denying or otherwise
                                 23   unreasonably restricting Plaintiff from accessing its facilities on SBNF lands. See
                                 24   ECF No. 1 at 10; see generally ECF No. 2.
                                 25         The Nation has protectable rights that are separate and distinct from those of
                                 26   Plaintiff that will be injured by the agency action in question if the Court does not
                                 27   grant injunctive relief. The Nation and its predecessors have diverted and used
                                 28   water from sources in the vicinity of Arrowhead Springs, including Strawberry
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                                  1   Canyon and Creek, for well over a century and, accordingly, possess rights to use
                                  2   such water under California law. See ECF No. 2-5 at 7 (stating that, as of 1931, the
                                  3   Nation’s predecessors have been diverting and using water from East Twin Creek
                                  4   and its tributaries for various purposes, including domestic and irrigation uses, for
                                  5   “more than 50 years”). Since 1931, by virtue of a judgment entered by the San
                                  6   Bernardino County Superior Court and a contract executed by Plaintiff’s and the
                                  7   Nation’s respective predecessors, the Nation has been entitled to receive 20 percent
                                  8   of the water diverted by Plaintiff on SBNF lands, which is conveyed to Arrowhead
                                  9   Springs through Plaintiff’s facilities (“Subject Water”). Accordingly, by
                                 10   terminating Plaintiff’s special use authorization, Defendants’ actions will injure the
                                 11   rights of the Nation, beyond any potential injury to Plaintiff. The California State
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                                 12   Water Resources Control Board (SWRCB) has stated that the Nation “has riparian
                                 13   rights that authorize diversions through these facilities for beneficial uses on the
                                 14   [Arrowhead Springs] property.” ECF No. 15-6 at 91.
                                 15         Further, the injunctive relief that the Nation seeks is distinct and narrower
                                 16   than the injunctive relief sought by Plaintiff—rather than enjoin the Notice of
                                 17   Denial in its entirety, the Nation requests that the Court preserve the status quo as
                                 18   of July 25, 2024, as it pertains to the delivery of the Subject Water to the Nation for
                                 19   use at Arrowhead Springs until an out-of-court solution can be reached or the Court
                                 20   has entered a final decision in this case. See Attach. 2.
                                 21         Thus, the Nation is entitled to intervene as a matter of right pursuant to
                                 22   FRCP 24(a)(2) because: this motion is timely; the Nation has protectable interests
                                 23   relating to the properties and/or transactions which are the subject of this action; the
                                 24   Nation is so situated that the disposition of this action may, as a practical matter,
                                 25   impair or impede its ability to protect those interests; and the Nation’s interests are
                                 26   not adequately represented by the existing parties.
                                 27         Alternatively, the Nation should be permitted to intervene pursuant to
                                 28   FRCP 24(b)(1)(B) because: this motion is timely; the Nation’s proposed Complaint
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                                  1   raises questions of law and fact which are common with those in the main action;
                                  2   and the Nation’s intervention will not unduly delay or prejudice the original parties’
                                  3   rights.
                                  4                                II.   STATEMENT OF FACTS
                                  5   A.        The Nation’s Ancestral Ties and Use of Strawberry Canyon Water at
                                                Arrowhead Springs
                                  6

                                  7             The Nation’s occupation and stewardship of its ancestral lands, including
                                  8   much of the SBNF, dates back to pre-colonization. Arrowhead Springs, in
                                  9   particular, has tremendous historic, spiritual, and cultural value for the Nation—its
                                 10   people and their ancestors used, lived among, and shared an intimate connection
                                 11   with the land. The ancient village known as Apuiv’at was located at Arrowhead
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                                 12   Springs, and the Arrowhead landmark, natural hot mineral springs, and surrounding
                                 13   areas constitute sacred sites, as defined in Executive Order 13007,3 to the Nation
                                 14   and its citizens.
                                 15             In addition to the ancient village’s use of the water sources before
                                 16   colonization, the Nation and its predecessors have been diverting water from
                                 17   sources in the vicinity of Arrowhead Springs and applying it to beneficial uses
                                 18   since at least 1864. See ECF No. 15-6 at 12. Beginning in 1885, the property’s
                                 19   owners used it for hotel/resort purposes. Id. They began bottling and selling
                                 20   “spring-fed water that was captured near the hotel” by at least 1906. Id. at 13.
                                 21             Several notable events occurred between 1929 and 1931. First, the Nation’s
                                 22   and Plaintiff’s respective predecessors in interest executed multiple contracts, the
                                 23   last of which (dated September 26, 1931, hereinafter the “1931 Contract”) set forth
                                 24   that, as relevant here, Plaintiff’s predecessor has the right to develop water in
                                 25   “Strawberry Canyon” but is obliged to deliver 20 percent of the water to the
                                 26   Nation’s predecessor. Id. at 15-16; Ex. 6 (1931 Contract). Meanwhile, Plaintiff’s
                                 27
                                      3
                                 28       See Exec Order No. 13007, 61 Fed. Reg. 26,771 (May 29, 1996).
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                                  1   predecessor applied for and secured a SUP from Defendants to construct, access,
                                  2   and operate the facilities in Strawberry Canyon, which are primarily located on
                                  3   SBNF lands. ECF No. 15-6 at 25 (describing issuance of SUPs since 1930).
                                  4   Finally, both sets of predecessors were sued by other water users, located
                                  5   downstream of Arrowhead Springs, alleging that upstream diversions and uses
                                  6   injured their water rights. On October 19, 1931, the San Bernardino County
                                  7   Superior Court entered a stipulated judgment that confirmed both predecessors’
                                  8   rights to divert and use water in Strawberry Canyon and other sources in the
                                  9   vicinity of Arrowhead Springs. ECF No. 15-6 at 16-17; ECF No. 2-5 at 7, 10-15
                                 10   (describing the Nation’s predecessor’s uses of water on the property since circa
                                 11   1880 and decreeing the same’s right to divert and use water from East Twin Creek
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                                 12   and its tributaries).
                                 13            The Nation reacquired Arrowhead Springs in 2016 as part of its efforts to
                                 14   reclaim and steward its ancestral lands, a policy goal the United States
                                 15   wholeheartedly supports across the country. McCleary Decl. at ¶ 7. The Nation
                                 16   continues to use water sourced from Strawberry Canyon on the property for a
                                 17   variety of beneficial uses, including fire protection, domestic, and irrigation
                                 18   purposes. Garton Decl. at ¶ 6; ECF No. 27-1; see also n.2, ante.
                                 19            Plaintiff acquired its interests in the facilities and commercial bottling
                                 20   operations from Nestlé Waters American Holdings, Inc. (Nestlé), in March 2021.
                                 21   See ECF No. 15-6 at 20-21. Notwithstanding this transfer of ownership, the
                                 22   1931 Contract remained in effect, and Plaintiff and its predecessors operated under
                                 23   its terms, until December 11, 2023, when the Nation and Plaintiff entered a “Letter
                                 24   Agreement Amending 80/20 Agreement During Interim Period” (Letter
                                 25   Agreement) that amended and clarified Plaintiff’s delivery obligation given
                                 26   ongoing legal controversies, including events leading up to the instant matter.
                                 27   Ex. 7.
                                 28
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                                  1         Importantly, the Nation possesses rights independent from Plaintiff to use the
                                  2   Subject Water. These independent water rights are recognized by the SWRCB, a
                                  3   state agency with authority to regulate surface water rights in California. ECF
                                  4   No. 15-6 at 91 (“[the Nation] has riparian rights that authorize diversions through
                                  5   these facilities for beneficial uses on [Arrowhead Springs]”).
                                  6   B.    USFS Action to Cut-off BlueTriton and the Nation’s Water Without
                                            Consultation with the Nation
                                  7

                                  8         On August 24, 2018, the USFS issued SUP No. FCD728501 to Nestlé after
                                  9   issuing a “Decision Memo” on June 27, 2018. ECF No. 2-10 (the SUP); ECF
                                 10   No. 2-12 (the Decision Memo). On February 21, 2023, the USFS issued SUP
                                 11   No. FCD728503 to Plaintiff, which contained an expiration date of August 24,
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                                 12   2023. ECF No. 15-4. Also on February 21, 2023, Plaintiff submitted a “Proposal
                                 13   and Application for Renewal of Special Use Permit for Long Term Permit” based
                                 14   on SUP No. FCD728503. ECF No. 15-5. On July 27, 2024, Defendants issued the
                                 15   Notice of Denial, terminating SUP No. FCD728503 and denying Plaintiff’s request
                                 16   to renew the same, and also requiring Plaintiff to prepare and submit, within
                                 17   12 weeks, a plan to remove the facilities from SBNF lands (a/k/a
                                 18   “decommissioning plan”). ECF No. 2-23. Defendants never provide the Nation a
                                 19   copy of the Notice of Denial. Declaration of Daniel Little in Support of
                                 20   Yuhaaviatam of San Manuel Nation’s Motion to Intervene (Little Decl.) at ¶ 7. Nor
                                 21   did Defendants ever notify the Nation that the agency was taking such an action or
                                 22   consult with the Nation regarding the impact of such action on the Nation and
                                 23   Arrowhead Springs. Id. at ¶¶ 12, 16. Indeed, the Nation only came to learn of the
                                 24   Notice of Denial after its issuance through BlueTriton, which, without obligation,
                                 25   provided it to the Nation as a courtesy. Id. at ¶ 7.
                                 26         Furthermore, at no point—before or after the issuance of the Notice of
                                 27   Denial—have Defendants meaningfully consulted with the Nation regarding, nor
                                 28   have they analyzed, the potential impacts of the agency action upon the Nation or
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                                  1   upon Arrowhead Springs, which is eligible for listing under the National Historic
                                  2   Preservation Act (NHPA) and is culturally significant to the Nation and its people.
                                  3   Little Decl. at ¶ 18; McCleary Decl. at ¶ 10. Such failure to consult is particularly
                                  4   notable since the USFS was aware of the Nation’s reliance upon and use the
                                  5   Subject Water from BlueTriton at Arrowhead Springs, as well as the fact that no
                                  6   alternative water resource existed. Indeed, prior to the Notice of Denial, the
                                  7   Nation’s representatives met with USFS officials and so informed them, going so
                                  8   far as to correct factual misstatements the USFS had made to BlueTriton about the
                                  9   Nation’s supposed lack of water needs at Arrowhead Springs. Little Decl. at ¶¶ 9-
                                 10   13. Plaintiff filed its Complaint in the instant matter on August 6, 2024, requesting
                                 11   that the Court vacate and set aside the Notice of Denial and enjoin Defendants from
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                                 12   denying Plaintiff access to the facilities. ECF No. 1. Plaintiff also concurrently
                                 13   filed its Motion, asking the Court to preliminarily enjoin the Notice of Denial. ECF
                                 14   No. 2. Once the Nation learned of the Notice of Denial, the Nation was prepared to
                                 15   intervene in this action, or initiate its own action, to enjoin Defendants from
                                 16   shutting off its water supply for Arrowhead Springs; the Nation refrained from
                                 17   doing so, however, on information and belief that an out-of-court solution with
                                 18   Defendants could be reached. See Little Decl. at ¶ 23.
                                 19   C.    USFS’ Delay of Cut-Off of Water to Nation Only Until January 15, 2025,
                                            and Failure to Provide Any Resolution or Agree to Additional Delay
                                 20
                                 21         The Nation’s beliefs that USFS should not cut-off water to the Nation were
                                 22   validated, at least initially—Defendants twice modified the Notice of Denial to
                                 23   allow Plaintiff to continue delivering water to the Nation for use at Arrowhead
                                 24   Springs on an interim basis, which would “allow further time for [Defendants] and
                                 25   [the Nation] to work with partners to address access to water for the Arrowhead
                                 26   Springs Property.” ECF No. 15-21 (August 2, 2024 letter modifying the Notice of
                                 27   Denial by providing temporary authorization to Plaintiff to continue delivering
                                 28
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                                  1   water to the Nation until September 2, 2024); ECF No. 27-1 (August 26, 2024 letter
                                  2   extending the temporary authorization until January 15, 2025).
                                  3         Since the temporary authorization was granted and extended, the Nation and
                                  4   Defendants have held several meetings; however, such communications have not
                                  5   led to a successful resolution of the Nation’s concerns. Little Decl. at ¶¶ 17-18.
                                  6   Defendants have offered no solution that would allow for the continued delivery of
                                  7   the Subject Water that can be implemented by the January 15, 2025 expiration of
                                  8   the temporary authorization, and to the Nation’s knowledge, Defendants do not
                                  9   intend to re-extend such authorization or otherwise allow the Nation to continue
                                 10   receiving water at Arrowhead Springs. Id. at ¶ 23. Defendants have even
                                 11   seemingly contested the notion that the Nation has valid water rights that authorize
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                                 12   it to use water from Strawberry Canyon, notwithstanding the Nation’s provision of
                                 13   information, County and City of San Bernardino confirmation of the importance of
                                 14   the water for fire-fighting, and SWRCB’s statements confirming as much, and have
                                 15   yet to offer a workable solution that can be implemented by January 15, 2025, or
                                 16   indicate a willingness to extend such date. Id. at ¶¶ 12-13, 16-17, 21.
                                 17         On October 22, 2024, Plaintiff filed a notice that it had submitted a
                                 18   decommissioning plan to Defendants, which states that “absent an injunction,
                                 19   nothing prevents the USFS from directing implementation of the decommissioning
                                 20   plan.” ECF No. 34. On October 23, 2024, the United States District Court for the
                                 21   District of Columbia issued an order transferring the instant matter to the United
                                 22   States District Court for the Central District of California. ECF No. 35. On
                                 23   December 4, 2024, the instant matter was transferred from the docket of the
                                 24   Honorable John F. Walter, District Judge, to the docket of the Honorable Jesus G.
                                 25   Bernal, District Judge. ECF No. 56. On December 13, 2024, Plaintiff and
                                 26   Defendant filed a Stipulation regarding Plaintiff’s Motion for Preliminary
                                 27   Injunction, wherein the parties requested that the Court consider the Plaintiff’s
                                 28   Motion and hold a hearing thereon no later than January 13, 2025. ECF No. 59.
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                                  1   The Court granted the Stipulation and set a hearing on Plaintiff’s Motion for
                                  2   9:00 a.m. on January 13, 2025. ECF No. 60. The Nation has filed a Motion for
                                  3   Preliminary Injunction contemporaneously with this Motion to Intervene, and to the
                                  4   extent the Court shortens time for hearing and permits intervention, the Nation also
                                  5   requests that the hearing on its Motion for Preliminary Injunction be held on the
                                  6   same day as BlueTriton’s Motion.
                                  7                                    III.   ARGUMENT
                                  8   A.     Intervention as of Right Should Be Granted Pursuant to Rule 24(a)(2)
                                  9          The Ninth Circuit Court of Appeals has adopted a four-part test for
                                 10   determining whether an applicant can intervene as of right pursuant to
                                 11   FRCP 24(a)(2):
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                                 12          (1)   the application for intervention must be timely;
                                 13          (2)   the applicant must have a significant protectable interest relating to the
                                 14   property or transaction that is the subject of the action;
                                 15          (3)   the applicant must be so situated that disposition of the action may, as
                                 16   a practical matter, impair or impede the applicant’s ability to protect that interest;
                                 17   and,
                                 18          (4)   the applicant’s interest must not be adequately represented by the
                                 19   existing parties to the action. Smith v. L.A. Unified Sch. Dist., 830 F.3d 843, 853
                                 20   (9th Cir. 2016) (Smith); Hilao v. Estate of Marcos (In re Estate of Ferdinand E.
                                 21   Marcos Human Rights Litigation), 536 F.3d 980, 984 (9th Cir. 2008); United States
                                 22   v. City of L.A., 288 F.3d 391, 397 (9th Cir. 2002) (City of L.A.), citing Donnelly v.
                                 23   Glickman, 159 F.3d 405, 409 (9th Cir. 1998).
                                 24          The Ninth Circuit interprets and applies the rule broadly in favor of
                                 25   intervention. United States v. Washington, 86 F.3d 1499, 1503 (9th Cir. 1996); City
                                 26   of L.A., 288 F.3d at 398-99 (citing Forest Conservation Council v. United States
                                 27   Forest Serv., 66 F.3d 1489, 1496 (9th Cir. 1995) (Forest Conservation Council),
                                 28   overruled on other grounds by Wilderness Soc’y v. United States Forest Serv.,
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                                  1   630 F.3d 1173 (9th Cir. 2011)); Scotts Valley Band of Pomo Indians of Sugar Bowl
                                  2   Rancheria v. United States, 921 F.2d 924, 926 (9th Cir. 1990) (“Rule 24(a) is
                                  3   construed broadly, in favor of the applicants for intervention.”).4
                                  4         1.     The Nation’s Motion Is Timely
                                  5         In assessing the element of timeliness, the Court considers three factors:
                                  6   (1) the stage of the proceedings at which an applicant seeks to intervene;
                                  7   (2) whether the existing parties would be prejudiced; and (3) the reason for any
                                  8   delay in moving to intervene. Smith, 830 F.3d at 854; United States v. Alisal Water
                                  9   Corp., 370 F.3d 915, 921 (9th Cir. 2004) (Alisal); League of United Latin American
                                 10   Citizens v. Wilson, 131 F.3d 1297, 1302 (9th Cir. 1997). Courts look at the totality
                                 11   of the circumstances in determining timeliness. Smith at 854.
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                                 12         In analyzing the “stage of the proceedings” factor, the lapse of time since the
                                 13   proceedings commenced is not determinative. Smith, 830 F.3d at 854, 856 (“[T]he
                                 14   amount of time which has elapsed since the litigation began is not in itself the
                                 15   determinative test of timeliness. Rather, the court should also look to the related
                                 16   circumstances, including the purpose for which intervention is sought . . . .”)
                                 17   (quoting United States v. State of Oregon, 745 F.2d 550, 552 (9th Cir. 1984) (State
                                 18   of Oregon)). In Smith, the motion was found timely despite twenty years passing
                                 19   since the litigation commenced. Id. at 854-57. Courts have similarly viewed
                                 20   motions as timely even if the case is at the appellate stage. Day v. Apoliona,
                                 21   505 F.3d 963, 964-66 (9th Cir. 2007) (Day) (finding motion timely, despite the case
                                 22   being two years old and on appeal, because, inter alia, it would not “broaden the
                                 23   scope of the case going forward”). Finally, a motion is timely if it is filed “before
                                 24

                                 25   4
                                        In addition, “[c]ourts are to take all well-pleaded, nonconclusory allegations in
                                 26   the motion to intervene, the proposed complaint or answer in intervention, and
                                      declarations supporting the motion as true absent sham, frivolity or other
                                 27   objections.” SW Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 820 (9th Cir.
                                 28   2001).
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                                  1   any hearings or rulings on substantive matters.” Idaho Farm Bureau Fed’n v.
                                  2   Babbitt, 58 F.3d 1392, 1397 (9th Cir. 1995) (Babbitt) (finding motion timely
                                  3   because it was filed “prior to the hearing on the preliminary injunction motion” and
                                  4   other parties did not “contend that the intervention was prejudicial”).
                                  5         Here, the Nation files this motion less than five months since the proceedings
                                  6   commenced, before the Court has heard argument or ruled on Plaintiff’s Motion for
                                  7   Preliminary Injunction, and does so to preserve the status quo for water delivery to
                                  8   Arrowhead Springs. The Nation seeks to continue receiving water from Plaintiff’s
                                  9   facilities, as it has for nearly a century, while this case and other cases5 remain
                                 10   pending, since out-of-court attempts to have Defendants re-extend the temporary
                                 11   authorization, or otherwise allow continued deliveries, have been unsuccessful.
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                                 12   Little Decl. at ¶¶ 16-17, 21. For the Nation to intervene at this “stage of the
                                 13   proceedings” is appropriate.
                                 14         Regarding prejudice to the parties, the existing parties are not prejudiced
                                 15   “since the motion was filed before the district court [has] made any substantive
                                 16   rulings.” NW Forest Res. Council v. Glickman, 82 F.3d 825, 837 (9th Cir. 1996)
                                 17   (NW Forest); see also Babbitt, 58 F.3d at 1397. Courts are also likely to conclude a
                                 18   motion is timely when the parties do not allege prejudice. Peruta v. Cty. of San
                                 19   Diego, 824 F.3d 919, 940 (9th Cir. 2016) (“We recognize that California sought to
                                 20   intervene at a relatively late stage in the proceeding. But the timing of California’s
                                 21   motion to intervene did not prejudice Plaintiffs; indeed, Plaintiffs did not, and do
                                 22   not, oppose the State’s intervention.”); Bates v. Jones, 127 F.3d 870, 874 (9th Cir.
                                 23   1997). Also, the USFS can hardly claim prejudice for a delay it orchestrated. The
                                 24   USFS granted a delay of the Notice of Denial to allow the Nation to receive water
                                 25
                                      5
                                 26    Including Save Our Forest Ass’n, Inc. v. U.S. Forest Service et al., Case No. 5:24-
                                      cv-01336 (C.D. Cal.), which is before this Court, and BlueTriton Brands, Inc. v.
                                 27   California State Water Res. Control Bd. et al., Case No. 23CECG04292 (Fresno
                                 28   Cty. Sup. Ct.).
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                                  1   until January 15, 2025, under the guise of working on a solution but then failed to
                                  2   provide any resolution that could be implemented by such date and has refused to
                                  3   extend such date. See Little Decl. at ¶¶ 17, 18, 23.
                                  4         Here, the Nation’s intervention will not prevent or otherwise hinder an
                                  5   existing party from taking any action or pursuing their claims or defenses. Nor will
                                  6   the Nation’s intervention delay the proceedings or materially “broaden the scope of
                                  7   the case going forward.” Day, 505 F.3d at 966. As mentioned, the Nation’s limited
                                  8   purpose in intervening is to preserve the status quo to protect its own property
                                  9   rights and interests, not to engage in discovery or “inject new issues into the
                                 10   litigation.” Alisal, 370 F.3d at 922. There will be no prejudice to the other parties.
                                 11         Regarding the last factor, courts consider “the length of, and explanation for,
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                                 12   any delay in seeking intervention.” W. Watersheds Project v. Haaland, 22 F.4th
                                 13   828, 839 (9th Cir. 2022) (citations omitted). “Delay is measured from the date the
                                 14   proposed intervenor should have been aware that its interests would no longer be
                                 15   protected adequately by the parties, not the date it learned of the litigation.” United
                                 16   States v. Washington, 86 F.3d 1499, 1503 (9th Cir. 1996). Courts have excused a
                                 17   delay in seeking intervention, for example, when there are changed circumstances
                                 18   over the course of litigation. State of Oregon, 745 F.2d at 552. Moreover, where
                                 19   “both the first and second timeliness factors weigh in favor of intervention,” courts
                                 20   “have found motions to be timely even in the face of longer delays than [71 and
                                 21   79 days].” Smith, 830 F.3d at 861.
                                 22         Here, the Nation seeks to intervene less than five months since the
                                 23   proceedings commenced, and there was just reason for waiting—the Nation
                                 24   reasonably believed Defendants would consult with it in good faith, as the law
                                 25   requires, in an effort to find a solution allowing continued deliveries of water to
                                 26   Arrowhead Springs, whether by extending the temporary authorization or by other
                                 27   means. Despite the Nation’s best efforts, this outcome has not materialized. See
                                 28   Little Decl. at ¶¶ 17-18, 23. The Nation considered intervening in this matter, or
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                                  1   filing its own action, in August 2024, but once Defendants granted and extended
                                  2   the temporary authorization until January 15, 2025, the Nation decided to seek a
                                  3   non-litigation solution and began preliminary discussions with Defendants. See id.
                                  4   at ¶¶ 12, 16-17, 23. Now, faced with no other viable means to ensure the status quo
                                  5   is preserved beyond January 15, 2025, the Nation seeks to intervene as a last resort.
                                  6   Thus, in light of these changed circumstances, the Nation’s timing in seeking
                                  7   intervention is justified.
                                  8          When considering the totality of the circumstances, the Court should find that
                                  9   this motion to intervene is timely.
                                 10          2.     The Nation Has a Significant Protectable Interest Relating to
                                                    Plaintiff’s Claims
                                 11
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                                 12          “An applicant has a ‘significant protectable interest’ in an action if (1) it
                                 13   asserts an interest that is protected under some law, and (2) there is a ‘relationship’
                                 14   between its legally protected interest and the plaintiff’s claims.” City of L.A.,
                                 15   288 F.3d at 398 (citations omitted). There is no bright-line rule for the “interest”
                                 16   test, because an applicant need not establish a specific legal or equitable interest. Id.
                                 17   The “relationship” test is met if an applicant will be affected by a court’s resolution
                                 18   of the plaintiff’s claims. Id.
                                 19          The Nation has an interest in beneficially using water at Arrowhead Springs,
                                 20   whether it be for domestic, irrigation, or fire protection purposes. Again, the
                                 21   SWRCB has stated the Nation “has riparian rights that authorize diversions through
                                 22   these facilities for beneficial uses on the [Arrowhead Springs] property.” ECF
                                 23   No. 15-6 at 90. Water rights are protectable interests under California law. See,
                                 24   e.g., Casitas Mun. Water Dist. v. United States, 708 F.3d 1340, 1354 (Fed. Cir.
                                 25   2013) (explaining that “the right to use . . . water is considered private property” in
                                 26   California and affirming the holding that the “right to beneficial use” is a
                                 27   “compensable right under California water law”) (citing State Water Res. Control
                                 28   Bd., 182 Cal.App.3d 82, 100 (Cal. Ct. App. 1986)). In addition to the riparian water
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                                  1   rights, the Nation has broad state and federal water rights, including pre-1914
                                  2   appropriative and groundwater rights.
                                  3         Further, the Nation’s interest in exercising its right to beneficially use water at
                                  4   Arrowhead Springs will be affected by the Court’s resolution of Plaintiff’s claim. If
                                  5   the Court denies Plaintiff’s requests for injunctive relief, the Nation appropriately
                                  6   assumes Defendants will move forward with requiring removal of the facilities
                                  7   located on SBNF lands. See ECF No. 34. Completely removing the current historic
                                  8   water supply will severely harm the Nation’s interest (and settled expectations), as
                                  9   the Nation will lack sufficient water to operate Arrowhead Springs, which also will
                                 10   interfere with local and regional fire-fighting efforts, leaving property and lives in
                                 11   peril at the Nation’s Arrowhead Springs and within the surrounding community.
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                                 12   Defendants’ refusal to allow continued water deliveries to Arrowhead Springs from
                                 13   Strawberry Canyon will result in the Nation being deprived of those water supplies
                                 14   for an indefinite period of time and will require the Nation to expend substantial
                                 15   time, money, and resources to find alternative water supplies to meet demands, all
                                 16   while being at risk to wildfires. Garton Decl. at ¶¶ 9-12.
                                 17         Plaintiff seeks a declaration that Defendants violated the APA by issuing the
                                 18   Notice of Determination, as well as injunctive relief, which, if granted, would allow
                                 19   for continued diversions from Strawberry Canyon and continued deliveries to
                                 20   Arrowhead Springs. The Nation’s interests are clearly implicated in this action.
                                 21         3.     Disposition of the Action May as a Practical Matter Impair or
                                                   Impede the Nation’s Ability to Protect Its Interests
                                 22

                                 23         FRCP 24(a)(2) only requires that disposition of the lawsuit may, not will,
                                 24   adversely affect an applicant’s interest if intervention is not granted. City of L.A.,
                                 25   288 F.3d at 400-01. Analysis of this third element of the four-part test follows from
                                 26   the analysis of the second element, and the Nation’s burden on this element is
                                 27   minimal—a proposed intervenor need only show that impairment of its legal
                                 28   interest is possible if intervention is denied. Id. at 401. Moreover, “[i]t is generally
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                                  1   agreed that in determining whether disposition of the action will impede or impair
                                  2   the applicant’s ability to protect his interest the question must be put in practical
                                  3   terms rather than in legal terms.” 7C Wright, Miller & Kane, Federal Practice and
                                  4   Procedure, § 1908 at 301 (2d. ed. 1986).
                                  5          Here, if intervention is denied, it is highly likely that the Nation’s ability to
                                  6   safeguard its right to beneficially use water at Arrowhead Springs will be impaired.
                                  7   As Plaintiff has pointed out, “absent an injunction, nothing prevents the USFS from
                                  8   directing implementation of the decommissioning plan.” ECF No. 34.
                                  9   Implementing the decommissioning plan would mean removing Plaintiff’s facilities
                                 10   from SBNF lands. See ECF No. 2 at 2, 16, 19, 25, 29; ECF No. 2-23 at 3. Thus, an
                                 11   unfavorable disposition of the instant action could certainly impair the Nation’s
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                                 12   ability to protect its interests, as its primary water supply (upon which the Nation
                                 13   has relied for well over a century) would be shut off entirely. Further, since the
                                 14   issuance of the Notice of Denial, the Nation has worked tirelessly with Defendants
                                 15   to find an out-of-court solution to protect its interest, but to no avail. Little Decl.
                                 16   at ¶¶ 16-23. While the Nation is committed to continuing to pursue non-litigation
                                 17   solutions, Defendants’ lack of recognition of their trust relationship to the Nation,
                                 18   and failure to consult with the Nation, consider the impact to the Nation, and
                                 19   protect the Nation’s resources both before and after issuing the Notice of Denial in
                                 20   violation of numerous federal laws and policies and their refusal to further extend
                                 21   the January 15, 2025 deadline leaves the Nation no legal means other than to seek
                                 22   relief from this Court to protect its interests.
                                 23          In sum, disposition of this action may very well, as a practical matter, impair
                                 24   or impede the Nation’s ability to protect its interests.
                                 25          4.     The Nation’s Interests Are Not Adequately Represented by the
                                                    Existing Parties
                                 26
                                 27          The fourth and final element necessary for intervention as of right is
                                 28   inadequate representation by the existing parties. Again, applicants seeking
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                                  1   intervention have a minimal burden in showing inadequate representation: “it is
                                  2   sufficient to show that representation may be inadequate.” Forest Conservation
                                  3   Council, 66 F.3d at 1498, citing Trbovich v. United Mine Workers, 404 U.S. 528,
                                  4   538 n.10 (1972) (original emphasis); California v. Tahoe Regional Planning
                                  5   Agency, 792 F.2d 775, 779 (9th Cir. 1986).
                                  6         In determining the adequacy of representation, the Ninth Circuit considers
                                  7   “whether the interest of a present party is such that it will undoubtedly make all the
                                  8   intervenor’s arguments; whether the present party is capable and willing to make
                                  9   such arguments; and whether the intervenor would offer any necessary elements to
                                 10   the proceedings that other parties would neglect.” Forest Conservation Council,
                                 11   66 F.3d at 1498-99 (citing California v. Tahoe Regional Planning Agency, 792 F.2d
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                                 12   at 778).
                                 13         Intervention of right is allowed where, as here, the interest of the applicant
                                 14   actually, or even potentially, differs from those of the existing parties. In United
                                 15   States v. State of Oregon, 839 F.2d 635 (9th Cir. 1988), residents of a mental health
                                 16   center were allowed to intervene in an action brought by the federal government
                                 17   against a state agency for failure to provide adequate training and care. The court
                                 18   found that the residents’ interests in receiving the care might cause them to raise
                                 19   different arguments than the government’s interests in prosecuting alleged
                                 20   violations. See also New York Pub. Interest Research Grp., Inc. v. Regents of Univ.
                                 21   of State of N.Y., 516 F.2d 350, 352 (2d Cir. 1975) (in action brought by consumers
                                 22   to set rules aside, regents who issued rules did not adequately represent interests of
                                 23   pharmacists who supported statewide regulations, since there was a substantial
                                 24   likelihood that the pharmacists would make more vigorous presentation of the
                                 25   economic side of argument than would the regents); New England Petroleum Corp.
                                 26   v. Federal Energy Admin., 71 F.R.D. 454 (S.D.N.Y. 1976) (New England
                                 27   Petroleum Corp.) (oil company entitled to intervene as of right in action brought by
                                 28   fuel oil supplier against the Federal Energy Administration over denial of
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                                  1   regulatory relief, since oil company was in position to address issues from industry,
                                  2   as opposed to government, point of view, and it could not be assumed that those
                                  3   viewpoints were identical); Town of North Hempstead v. Village of North Hills,
                                  4   80 F.R.D. 714 (E.D.N.Y. 1978) (owner of property affected by allegedly improper
                                  5   zoning by defendant village could intervene as of right in action brought by other
                                  6   town and residents under federal environmental laws since, although named
                                  7   defendants had great incentive to preserve their power to perform their functions
                                  8   and to protect past decisions made in accordance with their view of official
                                  9   responsibilities, it could not be said that defendants shared the very real and
                                 10   immediate economic interests of the proposed intervenor in the pending litigation).
                                 11         Here, the Nation’s interests are significantly different in kind and degree
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                                 12   from those of Plaintiff. First, the SWRCB has determined that the Nation “has
                                 13   riparian rights that authorize diversions through these facilities for beneficial uses
                                 14   on the [Arrowhead Springs] property,” whereas the SWRCB’s order asserts that
                                 15   Plaintiff “does not have any water rights that authorize [its diversions of water
                                 16   through its Tunnels 2 and 3, and its Boreholes 1A, 7, 7A, 7B, 7C and 8, and
                                 17   associated beneficial uses].” ECF No. 15-6 at 91, 94.6 In addition to the riparian
                                 18   rights acknowledged by the SWRCB, the Nation also enjoys broad state and federal
                                 19   water rights in the watershed, including pre-1914 appropriative and groundwater
                                 20   rights. Further, the Nation’s irreparable harm is very different than Plaintiff’s. The
                                 21   Nation needs the Subject Water for fire protection, domestic, and irrigation
                                 22   purposes, including use of such water by local, state, federal, and the Nation’s fire
                                 23   fighters to combat wildfires. See Garton Decl. at ¶ 6. This peril of the loss of life
                                 24

                                 25

                                 26
                                      6
                                        To be clear, the Nation is not agreeing with the statements in the SWRCB’s order
                                      and is not contending that Plaintiff lacks water rights; it merely cites the order to
                                 27   demonstrate that the Nation and Plaintiff have separate and distinct water rights and
                                 28   interests at stake.
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                                  1   and property caused by the cut-off of water to Arrowhead Springs is very different
                                  2   than the loss of water for commercial bottling purposes.
                                  3            While the Nation and Plaintiff both seek injunctive relief against Defendants,
                                  4   the nature of the requested relief is different. Plaintiff seeks to have the Notice of
                                  5   Denial vacated and set aside (ECF No. 1 at 10); whereas the Nation merely seeks to
                                  6   preserve the status quo as of July 25, 2024, with regard to delivery of the Subject
                                  7   Water to the Nation for use at Arrowhead Springs until an out-of-court solution can
                                  8   be reached or the Court has entered a final decision in this case. See Attach. 2.
                                  9   Finally, as a federally recognized Indian tribe and the owner of Arrowhead Springs,
                                 10   which constitutes a culturally significant sacred site, as defined in Executive
                                 11   Order 13007 and contains historic and culturally significant resources, Defendants
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                                 12   owe a unique duty to the Nation that it does not owe Plaintiff, including continuing
                                 13   duties to consult with the Nation before they take an action that may negatively
                                 14   impact the Nation, its property, or water and other resources. See McCleary Decl.
                                 15   at ¶ 10; 54 U.S.C. § 306108 (regarding the duty to consult under the NHPA).7
                                 16   Apart from the questions of adequacy of representation, intervention should be
                                 17   granted so the Court is fully advised of the merits of the controversy and all the
                                 18   interests that will be affected by the Court’s decision. New England Petroleum
                                 19   Corp., 71 F.R.D. at 458.
                                 20            Suffice it to say that the Nation has different rights at stake than Plaintiff,
                                 21   seeks different forms of relief than Plaintiff, and can (and will) present different
                                 22   facts and make different arguments than Plaintiff. Under no circumstance is
                                 23   Plaintiff able to adequately represent the Nation’s interests. Thus, the Court must
                                 24   grant the Nation’s motion under FRCP 24(a)(2).
                                 25   ///
                                 26   ///
                                 27

                                 28
                                      7
                                          This also includes Defendants’ trust obligations to the Nation.
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                                  1   B.    Alternatively, Permissive Intervention Should Be Granted Pursuant to
                                            FRCP 24(b)(1)(B)
                                  2

                                  3         The Nation has satisfied the four-part test for intervention as of right.
                                  4   Alternatively, the Court should permit the Nation to intervene pursuant to
                                  5   FRCP 24(b)(1)(B). Like intervention as of right, motions for permissive
                                  6   intervention are construed liberally in favor of the moving party—neither the
                                  7   inadequacy of representation, nor a direct interest in the subject matter of the action
                                  8   need be shown. 7C Wright, Miller & Kane, Federal Practice and Procedure,
                                  9   § 1911 (2d. ed. 1986). For permissive intervention, the Ninth Circuit requires the
                                 10   applicant to show “(1) independent grounds for jurisdiction; (2) the motion is
                                 11   timely; and (3) the applicant’s claim or defense, and the main action, have a
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                                      question of law or a question of fact in common.” City of L.A., 288 F.3d at 403.
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                                 12

                                 13   “In exercising its discretion,” a court must also “consider whether the intervention
                                 14   will unduly delay or prejudice the adjudication of the original parties’ rights.”
                                 15   FRCP 24(b)(3).
                                 16         Regarding the first element, this Court has jurisdiction over the Nation’s
                                 17   claims under multiple federal statutes, including 28 U.S.C. § 1362 (Indian tribe as
                                 18   plaintiff), 22 U.S.C. § 1331 (federal questions), and 5 U.S.C. § 702 (APA claims).
                                 19   Because the Nation has colorable claims that Defendants are violating multiple
                                 20   federal laws by prohibiting continued delivery of the Subject Water to Arrowhead
                                 21   Springs and requiring Plaintiff to remove the facilities that enable such deliveries,
                                 22   the Nation has independent grounds for jurisdiction as far as it is required for
                                 23   permissive intervention.
                                 24         Regarding the second element, and the requirement under FRCP 24(b)(3),
                                 25   this motion is timely, and it will not unduly delay or prejudice the adjudication of
                                 26   the claims of the existing parties, as discussed in section III.A, ante. The issue of
                                 27   undue delay or prejudice is the principal consideration in the Court’s assessment of
                                 28
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                                  1   a motion for permission to intervene. 7C Wright, Miller & Kane, Federal Practice
                                  2   and Procedure, § 1913 at 379 (2d. ed. 1986).
                                  3         Regarding the third element, whether an applicant’s proposed pleading raises
                                  4   questions of law or fact in common with the main action, courts liberally construe it
                                  5   in the applicant’s favor. Silver v. Babbitt, 166 F.R.D. 418, 433 (D. Az. 1994).
                                  6   Even under a strict construction, the Nation satisfies this element. As the preceding
                                  7   discussion and the Nation’s accompanying proposed Complaint-in-Intervention set
                                  8   forth, the Nation’s claims stem from the same agency action that precipitated the
                                  9   main action, and the Nation also alleges that Defendants have violated the APA and
                                 10   seeks injunctive relief. Additionally, the Nation seeks a narrower injunction than
                                 11   Plaintiff currently seeks that would allow the continued delivery of water for use at
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                                 12   Arrowhead Springs. Intervention by the Nation, therefore, will not result in any
                                 13   material expansion of the present litigation.
                                 14         Other factors considered in determining whether to allow intervention
                                 15   include: (1) the nature and extent of the intervenor’s interest in the litigation; (2) the
                                 16   intervenor’s ability to contribute to the full development of the factual issues and to
                                 17   the just and equitable adjudication of the legal issues presented; and (3) the legal
                                 18   position that the intervenor seeks to advance and its probable relation to the merits
                                 19   of the case. Perry v. Schwarzenegger, 630 F.3d 898, 905 (9th Cir. 2011); Spangler
                                 20   v. Pasadena City Bd. of Educ., 552 F.2d 1326, 1329 (9th Cir. 1977). The
                                 21   discussion in section III.A, ante, demonstrates that the Nation has distinct interests
                                 22   that stand to be impaired by an unfavorable disposition of Plaintiff’s claims, that the
                                 23   Nation’s participation in the matter will aid the Court in equitably adjudicating the
                                 24   claims, and that the Nation’s legal position is sound and directly related to the facts
                                 25   and issues at hand. Accordingly, this Court should grant the Nation’s alternative
                                 26   request for permissive intervention.
                                 27

                                 28
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                                  1                                  IV.    CONCLUSION
                                  2         For all the above reasons, the Nation satisfies the requirements for
                                  3   intervention as of right. Alternatively, the Court should exercise its discretion to
                                  4   allow the Nation’s permissive intervention.
                                  5         While a hearing on this motion has been noticed for February 3, 2025,
                                  6   because the January 15, 2025 expiration of the temporary authorization precedes
                                  7   that date, the Nation respectfully requests that the Court enter an order, pursuant to
                                  8   L.R. 6-1, shortening time such that a hearing on this motion will be held on
                                  9   January 13, 2025, at 9:00 a.m., on the same date a hearing on BlueTriton’s Motion
                                 10   for Preliminary Injunction will be held. The Nation proposes setting an expedited
                                 11   briefing schedule such that the deadline to file response briefs is January 8, 2025,
SOMACH SIMMONS & DUNN
  A Professional Corporation




                                 12   and the deadline to file reply briefs is January 10, 2025.
                                 13         The undersigned, counsel of record certifies that the Memorandum of Points
                                 14   and Authorities contains 6,543 words, which complies with the word limit of
                                 15   L.R. 11-6.1.
                                 16                                            Respectfully submitted,
                                 17                                            SOMACH SIMMONS & DUNN, PC
                                 18   DATED: January 3, 2025               By s/ Stuart L. Somach
                                 19                                          Stuart L. Somach (SBN 90959)
                                                                             Maximilian C. Bricker (SBN 350150)
                                 20                                          Attorneys for [PROPOSED] Plaintiff-
                                                                             Intervenor Yuhaaviatam of San Manuel
                                 21                                          Nation, a federally recognized Indian tribe,
                                                                             also federally recognized as San Manuel
                                 22                                          Band of Mission Indians

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                                      MEMORANDUM OF P&As; MOTION FOR ORDER SHORTENING TIME FOR HEARING                   -23-
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                                  1                                TABLE OF EXHIBITS
                                  2   1       April 18, 2024, Letter from BlueTriton Brands, Inc. to Nobles
                                  3   2       May 24, 2024, Letter from Nobles to BlueTriton Brands, Inc.
                                      3       June 4, 2024, Letter from BlueTriton Brands, Inc. to Nobles
                                  4
                                      4       July 30, 2024 Letter Request for Consultation
                                  5   5       November 4 and November 15, 2024, Letter From Nation to United
                                              States Forest Service
                                  6
                                      6       1931 Contract Also mentioned in Paragraph 7 of Hamai Decl.
                                  7   7       December 11, 2023 80/20 Letter Agreement
                                  8   8       NCRE Map
                                      9       SWRCB Order 2023-0042
                                  9   10      Notice of Denial July 26, 2024
                                 10   11      Decommissioning Plan October 2024
                                      12      August 1, 2024 Letter regarding Loss of Water Supply at Arrowhead
                                 11           Springs Property
SOMACH SIMMONS & DUNN




                                      13      November 15, 2024 Letter from Nation to United States Forest Service
  A Professional Corporation




                                 12
                                      14      San Bernardino National Forest Land Management Plan 2006 Revision,
                                 13           Phase I, II, and III
                                 14   15      Joint Secretarial Order 3403-2023
                                      16      Presidential Memorandum on Uniform Standards for Tribal Consultation
                                 15
                                      17      Executive Order 13647
                                 16   18      Executive Order 13175
                                      19      Executive Order 13007
                                 17
                                      20      USDA Departmental Regulation 1350-002
                                 18   21      Forest Service Manual section 1563.1
                                 19

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                                      MEMORANDUM OF P&As; MOTION FOR ORDER SHORTENING TIME FOR HEARING              -24-
